               IN THE UNITED STATES DISTRICT COURT
                                for
             THE WESTERN DISTRICT OF NORTH CAROLINA
                        ASHEVILLE DIVISION
                      Docket Number 19 CR 28-002


UNITED STATES OF AMERICA,
    Plaintiff,

      vs.

RODNEY DEJUAN ALLISON             )
     Defendant                    )
_________________________________ )


                           OBJECTIONS TO
              FINAL PRESENTENCE INVESTIGATION REPORT

       COMES NOW Defendant RODNEY DEJUAN ALLISON to offer the
following objections and corrections to the Final Presentence Investigation Report
filed on March 3, 2020 by United States Probation Officer.

      PART A. THE OFFENSE
      Statement of Relevant Conduct
      Page 15, Paragraph 54.
      On February 13, 2018 in the Atlanta Airport, a bank bag, containing $33,180 in
cash was found in Latasha Allison’s possession. bag in Mrs. Allison’s possession.
Georgia authorities seized the money, contending that it was “drug proceeds”. The
government repeats that contention in its Statement of Relevant Conduct.
According to Mrs. Allison, all of that money has been returned to her.

      Adjustment for Obstruction of Justice
      Pages 25, Paragraphs 70, 88, 90 and 99.

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       The Defendant objects to an upward adjustment for obstruction of justice.
No assertion made by Rodney Allison in the course of the civil forfeiture
proceeding – which has been stayed – has obstructed his federal criminal
prosecution. He has signed a plea agreement and endorsed a factual basis which
supports his plea. Refusing to accept all of the government’s sentencing
contentions is not obstruction of justice. Perhaps, some of the co-defendant, who
have benefitted greatly from their cooperation with the government, are the
obstructors of justice here. Allison continues to maintain that the money seized
from 25 Ora Street was neither contraband nor funds derived from unlawful
activity; that he is not part of a drug trafficking “organization”; that he was a not “a
known drug trafficker operating in the Asheville area”; and that he resided at 29
Ora not 25 Ora Street. Some of these issues were addressed by Allison in an
interview with law enforcement on April 10, 2019, the date of his arrest on these
federal charges. In that interview, he acknowledged having crack cocaine in his
pocket when a search warrant was served on 25 Ora Street on September 18, 2018.
The civil forfeiture lawsuit (1:19CV51) remains pending.



       Adjustment for Acceptance of Responsibility
       Paragraphs 70, 91 and 102.
       The defendant objects to the denial of a downward adjustment for
acceptance of responsibility. He has signed a plea agreement and endorsed a factual
basis which supports his plea. Accepting responsibility does not require that he
agree with all of the stories that cooperating witnesses have told the government.



      Respectfully submitted this 13th day of October, 2020.




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                       By: s/ Sean Devereux
                            Sean Devereux




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                            CERTIFICATE OF SERVICE

       I hereby certify that I electronically filed the foregoing with the
Clerk of the Court for the United States District Court for the Western District of
North Carolina by using the CM/ECF system. I certify that the listed participants
in the case are registered CM/ECF users and that service will be accomplished by
the CM/ECF system.

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      This 13th day of October, 2020.


                                        s/ Sean Devereux
                                        Sean Devereux




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